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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

 UNITED STATES OF AMERICA                        )
                                                 )
        v.                                       )         Crim. No. 2:19-cr-00123-DBH
                                                 )
 DAMON FAGAN                                     )

                                            NOTICE

        The United States of America, and the Defendant, by and through their undersigned

counsel, hereby notify the Court that the parties agree that the record of the suppression hearing

is closed.



        Dated in Portland, Maine this 9th Day of July, 2021

                                                     Respectfully submitted,

                                                     Donald E. Clark
                                                     Acting United States Attorney

                                                     /s/Nicholas M. Scott
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     100 Middle Street, 6th Floor, East Tower
                                                     Portland, Maine 04101
                                                     Nicholas.Scott@usdoj.gov

                                                     /s/David Bobrow
                                                     Counsel for Defendant
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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

        I hereby certify that on July 9, 2021, I electronically filed the foregoing notice with the
 Clerk of Court using the CM/ECF system which sent such notice via ECF to counsel of record.




                                                     Donald E. Clark
                                                     Acting United States Attorney


                                                     /s/Nicholas M. Scott
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     100 Middle Street, 6th Floor, East Tower
                                                     Portland, Maine 04101
                                                     Nicholas.Scott@usdoj.gov
